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S C H I L L E R




                    12 Counsel for Plaintiffs
                    13 [Additional counsel listed on signature page]
                    14                 UNITED STATES DISTRICT COURT
                    15        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
B O I E S




                    16 BROIDY CAPITAL MANAGEMENT                    Case No. 18-cv-02421-JFW
                    17 LLC and ELLIOTT BROIDY,
                                                                    JOINT STATEMENT REGARDING
                    18              Plaintiffs,                     LOCAL RULE 7-3 PRE-FILING
                    19                                              CONFERENCE ON PLAINTIFFS’
                              v.                                    INTENTION TO FILE A MOTION
                    20                                              FOR LEAVE TO PURSUE AN
                    21 STATE OF QATAR, STONINGTON                   INTERLOCUTORY APPEAL
                       STRATEGIES LLC, NICOLAS D.
                    22 MUZIN, GLOBAL RISK ADVISORS                  The Honorable John F. Walter
                    23 LLC, KEVIN CHALKER, DAVID
                       MARK POWELL, MOHAMMED BIN
                    24 HAMAD BIN KHALIFA AL THANI,                   Amended Complaint: May 24, 2018
                    25 AHMED AL-RUMAIHI, and DOES 1-
                       10,
                    26
                    27              Defendants.
                    28
                                                                                        Case No. 18-cv-02421-JFW
                               JOINT STATEMENT REGARDING LOCAL RULE 7-3 PRE-FILING CONFERENCE ON PLAINTIFFS’
                                                        INTENTION TO FILE MOTION FOR INTERLOCUTORY APPEAL
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                     1        In accordance with Section 5(b) of this Court’s Standing Order and
                     2 Local Rule 7-3, this is the joint statement of Plaintiffs Broidy Capital
                     3 Management LLC and Elliott Broidy (“Plaintiffs”) and dismissed Defendant
                     4 State of Qatar (“Qatar”) regarding the parties’ pre-filing conference of
                     5 counsel.
                     6        The parties’ initial Local Rule 7-3 conference took place via
                     7 teleconference at 12:30 P.M. Eastern Standard Time on August 31, 2018.
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                     8 Amy Neuhardt, Lee Wolosky, and Andrew Chesley participated on behalf of
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                     9 Plaintiffs. Mitchell Kamin and Rebecca Van Tassell participated on behalf of
                   10 Qatar. The teleconference lasted approximately thirty minutes.
                   11     Parties’ Positions on Plaintiffs’ Motion for Leave to File a Motion for
S C H I L L E R




                   12     Final Judgment as to Qatar and for Interlocutory Appeal of the Order
                   13                                  Dismissing Qatar
                   14         Plaintiffs informed Qatar that they intend move the Court pursuant to
                   15 Fed. R. Civ. Pro. 54(b) for a final judgment as to Qatar and to move for an
B O I E S




                   16 interlocutory appeal pursuant to 28 U.S.C. § 1292(b) of the Court’s order
                   17 granting Qatar’s motion to dismiss on grounds of sovereign immunity (the
                   18 “Order”). Plaintiffs explained that the Order is appropriate for final judgment
                   19 under Fed. R. Civ. Pro. 54(b) because it resolves all claims as to Qatar and
                   20 there is no just reason for delay of appeal of the issues regarding sovereign
                   21 immunity addressed in it.
                   22         Plaintiffs further explained that the issues raised in the Order involve
                   23 controlling issues of law regarding sovereign immunity and there is
                   24 substantial ground for difference of opinion regarding the applicability of the
                   25 non-commercial torts and commercial activity exceptions to the Foreign
                   26
                   27                                          -1-                 Case No. 18-cv-02421-JFW
                            JOINT STATEMENT REGARDING LOCAL RULE 7-3 PRE-FILING CONFERENCE ON
                   28            PLAINTIFFS’ INTENTION TO FILE MOTION FOR INTERLOCUTORY APPEAL
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                     1 Sovereign Immunities Act. Further resolution of those issues may materially
                     2 advance the ultimate termination of the litigation because issues of sovereign
                     3 immunity permeate the litigation, and resolution of the issues surrounding
                     4 sovereign immunity prior to resolution of claims against all parties will further
                     5 advance the resolution of claims against those parties. Plaintiffs also noted
                     6 that the Ninth Circuit, in the context of considering an appeal of an order
                     7 dismissing a defendant pursuant to the Noerr Penington Doctrine expressed
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                     8 the view that courts granting Rule 54(b) motions for final judgements should
F L E X N E R




                     9 also certify the underlying order for interlocutory appeal:
                   10         Whether the district court’s decision to grant ICTSI’s Rule 54(b)
                              motion was correct is a close call. In circumstances such as
                   11         these, we strongly prefer that the district court “certify its order
                              for interlocutory appeal,” which allows “the Court of Appeals to
S C H I L L E R




                   12         protect its docket by determining for itself whether to accept the
                              issue for review.”
                   13
                        Int’l Longshore & Warehouse Union v. ICTSI Oregon, 863 F. 3d 1178, 1186
                   14
                        (9th Cir. 2017), quoting Morrison-Knudsen Co., 655 F.2d 962, 966 (9th Cir.
                   15
B O I E S




                        1981).
                   16
                              Plaintiffs also informed Qatar that, although they are in negotiations
                   17
                        with counsel for Mohammed bin Hamad bin Khalifa al Thani (“al Thani”),
                   18
                        and further intend to move for leave to pursue alternate service as to al Thani
                   19
                        and other non-served defendants, Plaintiffs intend to file a Notice of Appeal of
                   20
                        the Order on September 7, 2018 (thirty days after the Order) because there is
                   21
                        ambiguity as to whether the Order is a final judgment. The ambiguity arises
                   22
                        from the fact that all served defendants now have been dismissed, and
                   23
                        Plaintiffs will not have resolution of their motion for alternative service of the
                   24
                        remaining defendants and may not have successfully negotiated service of al
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                        Thani prior to September 7. Plaintiffs advised that once the ambiguity is
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                   27                                          -2-                 Case No. 18-cv-02421-JFW
                            JOINT STATEMENT REGARDING LOCAL RULE 7-3 PRE-FILING CONFERENCE ON
                   28            PLAINTIFFS’ INTENTION TO FILE MOTION FOR INTERLOCUTORY APPEAL
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                     1 resolved, they will either withdraw the notice of appeal they intend to file on
                     2 September 7, or withdraw any efforts at interlocutory appeal then pending,
                     3 depending on which is the appropriate course.
                     4         Qatar advised that it would oppose a motion for final judgment against
                     5 Qatar under Fed. R. 54(b) because the issues of sovereign immunity addressed
                     6 in the Order may continue to be at issue with respect to other defendants in
                     7 this action. Qatar further advised that it would oppose certification of the
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                     8 Order pursuant to 28 U.S.C. § 1292(b) because the Order does not meet the
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                     9 jurisdictional requirements of the statute; specifically, there is not a
                   10 “substantial ground for difference of opinion” with respect to the Court’s legal
                   11 conclusion that Qatar is immune from suit under the Foreign Sovereign
S C H I L L E R




                   12 Immunities Act.
                   13          Qatar also expressed the view that, because Plaintiffs are in negotiations
                   14 with counsel for al Thani and also intend to move for permission to alternate
                   15 service, a notice of appeal of the Order as a final judgment is not appropriate,
B O I E S




                   16 as unserved defendants remain in the case and it is clear from the course of
                   17 proceedings that further adjudication is contemplated by the Plaintiffs.
                   18 Crowley v. Bannister, 734 F.3d 967, 974 (9th Cir. 2012). Qatar suggested that
                   19 Plaintiffs instead voluntarily dismiss all remaining defendants, then pursue a
                   20 final appeal thereafter.
                   21
                   22 Dated: September 4, 2018                      BOIES SCHILLER FLEXNER LLP

                   23                                               By: /s/ Lee S. Wolosky
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                   28            PLAINTIFFS’ INTENTION TO FILE MOTION FOR INTERLOCUTORY APPEAL
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L L P




                                                                     Attorneys for Plaintiffs
                     8
F L E X N E R




                     9
                   10 Dated: September 4, 2018                       COVINGTON AND BURLING LLP

                   11                                                By: /s/ Mitchell A. Kamin
S C H I L L E R




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                   27                                           -4-                 Case No. 18-cv-02421-JFW
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                   28             PLAINTIFFS’ INTENTION TO FILE MOTION FOR INTERLOCUTORY APPEAL
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                     1                        SIGNATURE CERTIFICATION
                     2        Pursuant to L.R. 5-4.3.4(a)(2)(i), I hereby attest that all other signatories
                     3 listed, and on whose behalf the filing is submitted, concur in the filing’s
                     4 content and have authorized this filing.
                     5
                     6
                         Dated: September 4, 2018         BOIES SCHILLER FLEXNER LLP
                     7
L L P




                                                          By:     /s/ Lee S. Wolosky
                     8
                                                                  Lee S. Wolosky
F L E X N E R




                     9
                                                                  Counsel for Plaintiffs
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                   11
S C H I L L E R




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                   28            PLAINTIFFS’ INTENTION TO FILE MOTION FOR INTERLOCUTORY APPEAL
